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Local AO 450 (rev. 5/10)

United States District Court
District of North Dakota

Brad Lodholtz and Courtney Lodholtz,

Plaintiffs,

v. JUDGMENT IN A CIVIL CASE
Continental Resources, Inc.,

Defendant. Case No. 4:15-cv-116

 

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has rendered its
verdict.

Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a decision has
been rendered.

[ | Decision on Motion. This action came before the Court on motion. The issues have been considered and a decision rendered.
[| Stipulation, This action came before the court on motion of the parties. The issues have been resolved.
[] Dismissal. This action was voluntarily dismissed by Plaintiff pursuant to Fed. R. Civ. P. 41(a)(1)Gi).

IT IS ORDERED AND ADJUDGED:

Brad Lodholtz be awarded past economic damages in the amount of $395,850.00; future economic damages in
the amount of $2,682,500.00; past non-economic damages in the amount of $725,000.00 and future
non-economic damages in the amount of $725.00.00, for a total amount of $4,528,350.00, plus post-judgment
interest at the allowed statutory rate.

Courtney Lodholtz be awarded past damages in the amount of $362,500.00 and future damages in the amount
of $1,268,750.00 for a total amount of $1,631,250.00, plus post-judgment interest at the allowed statutory rate.

Date: October 3, 2017 ROBERT J. ANSLEY, CLERK OF COURT

by: /s/ Shelley Giauque, Deputy Clerk

 
